967 F.2d 594
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Jorge Luis PEINADO-LEON, Defendant-Appellant.
    No. 90-10455.
    United States Court of Appeals, Ninth Circuit.
    Argued and Submitted Jan. 13, 1992.Decided July 8, 1992.
    Withdrawn on Denial of Rehearing December 29, 1992.  See  983 F.2d 1079.
    